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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Case No.: 24-CR-30 (LLA)
v. 18 U.S.C. § 231(a)(3)

DUSTIN MARTIN, 18 U.S.C. § 1752(a)(2)
Defendant.

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Dustin Martin
(“Martin”), with the concurrence of the defendant’s attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public. The grounds around the Capitol were posted and cordoned off, and the entire area as well
as the Capitol building itself were restricted as that term is used in Title 18, United States Code,
Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,

among others, would be visiting the Capitol complex that day.

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oe On January 6, 2021, a joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,
November 3, 2020. This joint session of Congress was an official proceeding as that term is used
in Title 18, United States Code, Section 1512. The joint session began at approximately 1:00 PM.
Shortly thereafter, by approximately 1:30 PM, the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,
first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside. By shortly after 1:00 PM, the situation at the Capitol had
become a civil disorder as that term is used in Title 18, United States Code, Section 231, and
throughout the rest of the afternoon the civil disorder obstructed the Secret Service’s ability to
perform the federally protected function of protecting Vice President Pence.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. Officers with the D.C. Metropolitan Police
Department were called to assist officers of the USCP who were then engaged in the performance

of their official duties. The crowd was not lawfully authorized to enter or remain in the building

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and, prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks as required by USCP officers or other authorized security officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more
than $2.9 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

The Defendant’s Participation in the January 6, 2021, Capitol Riot
8. Martin travelled from Columbus, Ohio to Washington, D.C. on or around January

6, 2021. Before he left, Martin made several comments on social media relating to claims that the

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2020 presidential election was won through fraud. He understood that Congress would certify the
electoral college vote on January 6, 2021. In an exchange on December 31, 2020, someone sent
Martin an article about a Republican Senator’s plan to object to the certification of the electoral
college vote on January 6, 2021, and opined that the election should be overturned. Martin
responded, “it should be this whole thing is bullshit there’s literally fraud right in our face[.]”

9. On or about January 1, 2021, Martin messaged a friend on Facebook to say, “I’m
really hoping Pence actually standby I keep hearing he won’t.” Martin later messaged that same
friend to say, “me and Cody are going to DC for the Trump rally and electoral college votes[.]”
On January 6, 2021, Martin messaged a different friend to say he was on his way to D.C. When
asked why, Martin responded, “Electoral votes, the rally...Trump going to win.”

10. On January 6, 2021, Martin and a friend — Cody Lee Tippett! - arrived in
Washington, D.C. and went to the ellipse to hear former President Trump’s speech. He heard
Trump tell the crowd, “We are going to walk down to the Capitol.” Martin and Tippett then walked
from the Ellipse to the U.S. Capitol, arriving on the West side of the Capitol Grounds by at least
approximately 1:30 p.m.

11. He approached the Lower West terrace, where he observed a crowd of people
standing across from a line of bike rack barricades and police officers behind them, some dressed
in riot gear. At approximately 1:36 p.m., several rioters in Martin’s vicinity began to push against
one of the barricades, as the officers fought to prevent the rioters from breaking their police line.
Martin walked forward and joined the rioters, leaning forward, bracing himself against the rioters
in front of him, and using his body weight to help push the barricade against the police officers on

the other side. Martin did so with the intent to interfere with the officers holding their police line.

' Tippett’s conduct was charged separately under Case No. 23-cr-337-CRC. Tippett pled guilty
to two counts of 40 U.S.C. 5104(e)(2) on December 13, 2023.

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The group pushed the barricade directly into the officers, forcing them several feet back, and
requiring a dozen officers to drive the crowd back. The tussle caused Martin to fall down, after
which he retreated back into the crowd.

12. At approximately 1:50 p.m., a group of rioters on the Lower West Terrace pushed
a line of police officers up a set of stairs that leads to the Upper West Terrace of the Capitol
Building. Other rioters, including Martin and Tippett, followed that group of rioters up onto the
stairs. However, another police line prevented the crowd from advancing further up the stairs. At
approximately 2:10 p.m., the rioters again pushed past the police line on the steps and gained
access to the Capitol Building, for the first time that day. Martin and Tippett followed.

13. At approximately 2:15 p.m., Martin and Tippett approached the Capitol’s Senate
Wing Door, where Martin heard a man say, “they started shooting at us...rubber bullets. It fucking
hurts.” Martin and Tippett then entered the Capitol Building through the Senate Wing Door. At
the time they entered, Martin knew that he did not have lawful authority to go inside, and he knew
that the area was restricted and that Vice President Pence was present at the Capitol.

14. Inside the Capitol, Martin and Tippett walked into the Crypt, where a large crowd
of rioters chanted and pushed a line of police officers. Martin and Tippett walked further into the
Crypt and entered an area referred to as the Upper Level Entrance to the Capitol Visitor’s Center
(CVC). As Martin and Tippett entered the area, U.S. Capitol Police Officers were lowering metal
security gates to close off the hallway. Martin observed as other rioters propped open the gates and
placed furniture underneath them to prevent them from being lowered. Martin and Tippett then
descended a flight of stairs into the CVC.

15. Martin and Tippett remained in the CVC for about 15 minutes, after which they

reentered the Crypt. At approximately 2:50 p.m., Martin chanted alongside other rioters as he

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walked from the Crypt to the Senate Wing Door. Martin exited the Capitol Building through a
window near the Senate Wing Door at approximately 2:57 p.m. Tippett had exited ahead of Martin.

16. Martin and Tippett remained on the Upper West Terrace, the area immediately
outside of the West side of the Capitol Building, for nearly an hour. Martin stood with a group of
rioters gathered at the base of a short flight of stairs, in front of a line of police officers standing at
the top of those stairs and dressed in riot gear. At approximately 3:41 p.m., the front row of rioters,
holding up a white tarp, ascended the stairs and pushed against the law enforcement officers.
Fighting ensued as the officers pushed the rioters back and deployed pepper spray to subdue them.
Martin braced himself against the front line of rioters to support the push. Martin was then hit
directly in the face by pepper spray and retreated into the crowd, subsequently leaving the Upper
West Terrace at approximately 3:45 p.m., with Tippett.

17, Still on January 6, 2021, Martin posted to Facebook pictures, videos, and written
descriptions illustrating his participation in the riot at the Capitol. In one post, he included a photo
of himself and Tippett inside the Capitol and wrote, “Trump 2020!!!!” In another post, he included
a photo of himself outside the Capitol and a video of rioters on the Upper West Terrace of the
Capitol, writing, “So now I can say I’ve been hit with rubber bullets, bear mace, pepper spray,
teargas, and wrestle with Capital Police fuck yeah ‘America Bitches’ I'll do it all over again too!”

18. On January 6, 2021, Martin told a friend on Facebook that he “stormed the capital
broke the lines,” and “made it.” The friend asked Martin if he was alright and informed him that a

paramedic friend was in the area who could help him with the effects of pepper spray. Martin

replied that, “It was worth getting sprayed it hurt like a bitch I thought I was going to be blind...”

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19.

On January 7, 2021, Martin removed his Facebook posts from the Capitol because

the FBI was investigating. He messaged a friend to say, “I took all my stuff down bc the girls but

don’t think i won’t stand for what’s right and if shit really pops off let’s get it crackin!!!!”

20.

elements:

21.

Elements of the Offense

The parties agree that Civil Disorder, 18 U.S.C. § 231(a)(3), requires the following

First, the defendant knowingly committed an act with the intended purpose of
obstructing, impeding, or interfering with one or more law enforcement officers.
Second, at the time of the defendant’s actual or attempted act, law enforcement
officers were engaged in the lawful performance of their official duties incident to
and during a civil disorder.

Third, the civil disorder in any way or degree obstructed, delayed, or adversely
affected commerce or the movement of any article or commodity in commerce or
the conduct or performance of any federally protected function.

The parties agree that Disorderly or Disruptive Conduct in a Restricted Building or

Grounds, 18 U.S.C. 1752(a)(2), requires the following elements:

a. First, the defendant engaged in disorderly or disruptive conduct in, or in proximity

to, any restricted building or grounds.

Second, the defendant did so knowingly, and with the intent to impede or disrupt
the orderly conduct of Government business or official functions.

Third, the defendant’s conduct occurred when, or so that, his conduct in fact
impeded or disrupted the orderly conduct of Government business or official

function.

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Defendant’s Acknowledgments
22. The defendant knowingly and voluntarily admits to all the elements as set forth
above. Specifically, the defendant admits that he committed an act with the intended purpose of
obstructing, impeding, or interfering with one or more law enforcement officers and further admits
that he intended to impede or disrupt the orderly conduct of Government business or official

functions.
Respectfully submitted,

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By: /s/ Alexander Diamond
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DEFENDANT’S ACKNOWLEDGMENT

I, Dustin Martin, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.

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Dustin Martin
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client’s desire to adopt this Statement of the Offense as true and accurate.

Date: 4 - \o- 34 a om. QO
Stacey acDonald Tie
Attorney for Defendant

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